                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


LATANYA L. WYATT,                                   )
                                                    )
         Plaintiff,                                 )
                                                    )        NO. 3:17-cv-01545
v.                                                  )        JUDGE RICHARDSON
                                                    )
NISSAN NORTH AMERICA, INC.,                         )
                                                    )
         Defendant.                                 )
                                                    )


                                               ORDER

        On January 28, 2022, Plaintiff, Latanya Wyatt, notified the Court that the parties had

reached a settlement agreement. (Doc. No. 103). Accordingly, the pretrial conference set for March

18, 2022, and the jury trial set for March 29, 2022, are canceled.

        By February 28, 2022, the parties are ordered to file either 1) a joint stipulation of dismissal,

or 2) a status update informing the Court of the ongoing work toward finalizing settlement

documents.

        IT IS SO ORDERED.



                                                ____________________________________
                                                ELI RICHARDSON
                                                UNITED STATES DISTRICT JUDGE




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